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 5
                      IN THE UNITED STATES DISTRICT COURT FOR THE
 6
                              EASTERN DISTRICT OF CALIFORNIA
 7
 8   UNITED STATES OF AMERICA,   )                  CASE NO. 06-CR-00323 LJO
                                 )
 9        Plaintiff,             )
                                 )                  STIPULATION AND ORDER
10   v.                          )                  MODIFYING CONDITIONS
                                 )                  OF RELEASE
11   ANDREA TAYLOR,              )
                                 )
12        Defendant.             )
     ____________________________)
13
              The parties hereto, by and through their respective attorneys, with the
14
     assistance of Pretrial Services Officer Kimberly Dalton, stipulate and agree that the
15
     conditions of release set by the court for defendant Andrea Taylor on April 12,
16
     2007, be modified to vacate the condition requiring Ms. Taylor to participate in the
17
     passive global positioning program. All other terms and conditions of Ms. Taylor’s
18
     release remain in full force and effect.
19
20   DATED: November 7, 2007               /s/ Laurel J. Montoya       __
                                           LAUREL J. MONTOYA
21                                         Assistant United States Attorney
                                           This was agreed to by Ms. Montoya
22                                         via telephone on November 7, 2007
23
     DATED: November 7, 2007               /s/ Roger K. Litman    __
24                                         ROGER K. LITMAN
                                           Attorney for Defendant
25                                         ANDREA TAYLOR
26   IT IS SO ORDERED.
27   Dated:     November 8, 2007               /s/ Lawrence J. O'Neill
     b9ed48                                UNITED STATES DISTRICT JUDGE
28

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